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TIFFANY TOTH                                                                                               April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                    117-120
                                                 Page 117                                                             Page 119
1                     T. TOTH                                      1                   T. TOTH
 2          Do you recall what that was for?                       2   for the reposting from First Slice Media, this was
 3       A I don't recognize that name either.                     3   all part of your tax returns in 2015, correct?
4        Q Okay. And the next page which is                        4        A It should be, if it was. My husband does
 5   Plaintiffs 001129. There's a check for $       from           5   the taxes, so I just hand over everything.
6    Spicy Lingerie.                                              6         Q I just want to make sure that I understand
7           Do you recall what this was for?                       7   that your income from 2015, your reported income of
 8       A I do not. It just says hashtag model. So                8   $         , I want to see how much of that is
 9   I don't know.                                                 9   attributed to modeling and how much of that is
10       Q Have you ever done any work for Spicy                  10    attributed to posting, makeup, whatever else you're
11    Lingerie outside of modeling?                               11    doing on the side.
12       A What do you mean?                                      12            Do you have any idea of how much this
13       Q Other than modeling for photo shoots, have             13    $          would be attributed to modeling?
14    you done any other work with them?                          14            MR. GOLASZEWSKI: Objection.
15       A I don't remember if I have for not.                    15         A All of it, because that's my -- I mean, I
16       Q The next page which is marked as                       16    only work maybe makeup jobs here on there if I want
17    Plaintiffs 001130, and this says financial                  17    to. But for the most part, it's -- I'd say,
18    statements. I don't know what this is. This was             18    99 percent is modeling.
19    produce indeed discovery.                                   19         Q So do you consider the reposting on
20           Is this from your checking account?                  20    Facebook modeling?
21       A This looks like PayPal.                                21         A It is, yes.
22       Q So where it has sales activity of                      22         Q Same thing. So for this First Slice
23    $            .                                              23    Media -- just talking about them only -- correct me
24           Do you see that five rows down?                      24    if I'm wrong, I think you said before that you were
25       A Yes.                                                   25    reposting articles?

                                                       Page 118                                                     Page 120
1                     T. TOTH                                     1                  T. TOTH
 2        Q Is that from your sales of photographs?               2       A Yes, articles. But about — they could
 3        A That would have been anybody who paid me               3   have an article about you if they wanted, as well.
4    with PayPal. So I couldn't give a specific, who              4       Q But not all the reposting that you're
 5   it's from or from what.                                       5   doing has a picture of you this it, correct?
 6        Q So you have no way to know how much of                6       A Correct.
7    this $          is attributed to modeling, correct?           7      Q And that's all encompassed in this
 8        A I mean, it would all be from modeling,                 8   modeling Schedule C, correct?
 9   because I don't get PayPal money from anywhere else           9      A Yes.
10    besides if it's for like posting something or a job         10          MR. SPIEGEL: Off the record.
11    or -- I mean, nobody's just sending me money to my          11                 (Whereupon, an off-the-record
12    PayPal, you know.                                           12                 discussion was held at this
13         Q So prior to this when were speaking about            13                 time.)
14    you doing the posting, I think we saw a check here          14       Q So part of the allegations in the lawsuit
15    for Fist Slice Media, LLC for $          .                  15   is that you do not want to be associated with a
16            So when they gave you that money, they              16   strip club, correct?
17    give you a check?                                           17       A Correct.
18         A Yes.                                                 18       Q Have you ever worked as an exotic dancer
19         Q So whenever you do posts on social media,            19   or stripper?
20    you receive checks?                                         20       A No.
21         A Checks or PayPal or direct deposit.                  21       Q Have you ever worked in a strip club?
22         Q So sometimes you do receive PayPal                   22       A No.
23    compensation when you're reposting on social media?         23       Q Have you ever worked as an escort, even no
24         A Yes.                                                 24   just sex, companionship?
25         Q Okay. So this $             that you received        25       A No.



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                                                    Page 121                                                       Page 123
 1                   T. TOTH                                    1                   T. TOTH
 2       Q Have you ever done any advertisement for a           2       Q Do you know them on a personal level?
 3   strip club?                                                3       A No.
 4       A No.                                                  4       Q You just know them from the lawsuit?
 5       Q Have you ever seen an advertisement for a            5       A Yes.
 6   strip club?                                                6       Q I'm going to show you the caption of the
 7       A Yes.                                                 7   complaint which is marked as TT1. I would like you
 8       Q Do you expect those women who are                    8   to take a look at all the named plaintiffs and see
 9   advertising for the strip club to be present at the        9   if you recognize any of the names.
10   strip club?                                               10        A Yes.
11        A Probably. If they're advertising it, yes.          11        Q Which ones do you recognize?
12        Q Have you ever been to a strip club?                12        A Gemma, Jessa.
13        A Yes.                                               13        Q Gemma's last name is Gemma Lee Farrell?
14        Q Have you ever seen an advertisement for            14        A Yes.
15   that strip club that you've been to?                      15        Q And Jesse Hinton?
16        A What do you mean? Like on a billboard              16        A Yes. Jesse Golden. I think I worked with
17    somewhere?                                               17    Sheena back in the day. I don't know her
18        Q Sure.                                              18    personally, no. Heather Rae Young. Rachel.
19        A Yes.                                               19    Sabella, I think I worked with once. I know Ursala,
20        Q Were those women that you saw advertising          20    and I met Carmen once on a job.
21   for that strip club at the strip club?                    21        Q So you know pretty much all of them?
22       A They could have been. I mean, sometimes             22        A Pretty much.
23   they're good looking. Sometimes they're not. It's         23        Q These are exhibits to the complaint, but
24   hard to tell sometimes.                                   24    I've redacted the names.
25        Q Have you ever typed your name into Google?         25           I just want to know if you could tell me

                                                 Page 122                                                           Page 124
 1                  T. TOTH                                                          T. TOTH
 2       A Back in the day, yes. But I keep from                2   who these people are.
 3   doing so.                                                  3       A Okay.
 4       Q Not recently?                                        4       Q Because on the exhibits we received in the
 5       A No, I do not Google my name. I refuse.               5   complaint, it has everyone's name, okay.
 6       Q Are you aware that you have your image and           6       A Yes.
 7   videos on pornographic websites?                           7       Q So the first one I'm going to show you is
 8          MR. GOLASZEWSKI: Objection.                         8   Exhibit B of the complaint. Same photo, just with
 9       A It happens, yes.                                     9   the name redacted.
10       Q Are you aware of it though?                         10            Do you know who that is?
11           MR. GOLASZEWSKI: Objection.                       11        A Yes, that's Gemma.
12       A Yes. I mean, you can't control everything           12        Q That's Gemma. Are you friends with Gemma?
13    on the internet.                                         13        A I know her because she's a Playmate as
14       Q Did you authorizes pornographic websites            14    well.
15   to put your images or photos on their website?            15        Q Okay. I'm going to going to -- I'm sorry,
16       A No, not on their website.                           16    this is Exhibit D of the complaint.
17       0 Have you ever tried to remove photos or             17            It's a smaller photo, but do you know who
18    videos of yourself from any pornographic websites?       18    that is?
19       A I'm sure I have.                                    19        A That looks like Heather.
20       Q Any that you recall?                                20        Q Heather --
21       A I mean, I haven't Google in a long time.            21        A Heather Rae Young.
22   The only thing I search is on social media.               22        Q And if you could, turn to the next one
23       Q Are you familiar with the other plaintiffs          23    which is Exhibit E of the complaint.
24   in this case?                                             24            Do you know who that is?
25       A Yes.                                                25        A That would be Rachel, and Sabella on the



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                                                 Page 125                                                          Page 127
1                   T. TOTH                                    1                 T. TOTH
2    right.                                                    2          Does that happen often?
3        Q Turn to the next one, Exhibit G of the              3          MR. GOLASZEWSKI: Objection.
4    complaint.                                               4        A When I'm made up and look like my photos,
5        A Okay.                                               5   yes.
6        Q Do you recognize anyone in any of those            6        Q When did you get to New York?
7    photos?                                                   7       A Last night.
8        A That would be -- oh, my God, why can't I            8       Q So when you got to New York, when you
9    think of her name right now.                              9   arrived in New York, going from the airport to your
10       Q But you know who she is?                           10    hotel and here today, has anyone recognized you?
11       A Yes. Her last name is Mayes.                       11           MR. GOLASZEWSKI: Objection.
12       Q Can you turn to the next one, please,              12       A No, because I did not like my photo.
13    Exhibit H. Can you turn to the photo.                   13       Q What about over the past week.
14           Do you know who that is?                         14           Has anybody stopped and you recognized
15       A That's Jessa Hinton.                               15    you?
16       Q Okay. Can you turn to the next one,                16       A I mean, sometimes people recognize me, but
17    please, Exhibit J?                                      17    they don't see anything. I'll see it later on my
18       A I'm sorry. Going back, it was Ursala.              18    social media like oh, I saw you here. Were you
19           MR. GOLASZEWSKI: Mayes.                          19    here? Sometimes they come up to my husband. So I
20       A It's a   unique  name.                             20    mean, they don't always tell you.
21        Q    Exhibit J, can you   look  at the  photograph? 21       Q So when you say when you're dressed up and
22       A Yes. That is      Jesse.   I  think  so. It's      22    when you're going for a photo shoot and you're in
23    pretty like grainy, but it looks  like it's Jesse.      23    makeup?
24        Q If you could turn to the next one, Exhibit        24           MR. GOLASZEWSKI: Objection.
25    L of the complaint.                                     25       Q I'm just trying to clarify what you said

                                             Page 126                                                            Page 128
 1                  T. TOTH                                  1                    T. TOTH
2      A That's Jesse for sure.                              2     before.
 3      Q If you could turn to the next one, Exhibit         3             You're saying when you're dressed up,
4    M of the complaint.                                     4     people recognize you?
5      A I do not know her.                                  5         A Sometime, yeah. I mean, there have been
6      Q Okay. You can turn to the next one,                 6     times I've been out and they recognize you too and I
 7   Exhibit N of the complaint.                             7     didn't look that great.
8      A That would be Sheena.                                8        Q So did you have any friends or fans
9       Q Okay. Next one, Exhibit 0 of the                    9    recognize you from the advertisements on the
10   complaint.                                              10     defendants' websites?
11      A That's carmen.                                     11            MR. GOLASZEWSKI: Objection.
12      Q Do you consider yourself famous or a               12         Q And inform you that you were associated
13   celebrity?                                              13     with the strip clubs?
14          MR. GOLASZEWSKI: Objection.                      14         A I mean, I don't always check all the
15      A I mean, if people recognizing when you're          15     comments. But sometimes, I mean, with all my
16   out. I mean, it kind of depends on who you ask.         16     followers, they'll see it or they'll comment to me
17      Q Just you personally, do you think of               17     or they'll message me.
18   yourself as a celebrity?                                18            What was the question exactly?
19          MR. GOLASZEWSKI: Objection.                      19         Q Do any of your friends or fans, anyone
20      A I mean, how do you define that really?             20     ever recognize you through the ads that were
21      Q Well, do you put yourself out for the              21     displayed by the Clubs?
22   public?                                                 22         A Yes.
23      A Yeah. So like an influencer, yes.                  23         Q Did somebody post something online
24      Q So you're saying people stop and even              24     informing you of this, or did somebody call you?
25   recognize you when you're out.                          25            Like how did you find out about that?


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                                                      Page 129                                                      Page 131
 1                  T. TOTH                                      1                   T. TOTH
2        Q I've had, like for example, like two years             2   right?
 3   ago, I was in New York walking through Time Square,          3       A Yes.
4    and I was walking to dinner with my husband, and            4        Q Do you consider this picture to be
 5   there's a picture of me, life-size in front of a             5   offensive?
6    strip club. Like sometimes I see them myself.               6           MR. GOLASZEWSKI: Objection.
 7   There has been times fans have sent me saying they           7       A Not the photo when I shot it, no.
 8   see it. I mean, it's so many people on social media          8       Q So what is offensive about this picture
 9   now, it's not hard to find.                                 9    then?
10           And obviously, like us models will look             10       A Because someone took this without my
11    out for each other. They could be like hey, I saw          11    permission and put it on their flyer to hopefully
12    your picture here. I mean, we all kind of know each        12    bring in business. And my job is, I get paid to
13    other.                                                     13    model, and they didn't pay me for this, and I don't
14        Q Has your agent -- does your agent know               14    do my job for free.
15    that your images were used to advertise for the            15        Q If you look at the --
16    strip clubs?                                               16        A And because it's a strip club, and I don't
17           MR. GOLASZEWSKI: Objection.                         17    choose to be associated with a strip club.
18        A I think -- yeah, I'm pretty sure. I think            18        Q You said that you saw your image walking
19    so.                                                        19    through Time Square in front of a strip club,
20        Q Did you tell your agent about it, or did             20    correct?
21    your agent tell you about it?                              21       A Yes.
22           MR. GOLASZEWSKI: Objection.                         22        Q Was it this image you saw?
23        A I don't remember.                                    23       A No, it was not this image.
24        Q When I say "your agent," I mean any of the           24        Q So turn the page, the second page of
25    agents that you have.                                      25    Exhibit A.

                                                   Page 130                                                            Page 132
1                  T. TOTH                                      1                    T. TOTH
 2       A Yes.                                                 2            Was it this image you saw?
 3       Q Let's go back a second. Talking about all            3        A No, not this.
4    three of your agents, did any of them ever contact         4        Q It's a different image?
 5   you and say your     likeness was  being   associated with 5        A Yes.
6    a strip club?                                              6        Q It's the image not in Exhibit A here?
 7       A No. I don't think that they -- I don't               7        A It's not for this company.
 8   remember.                                                  8        Q It's for a different strip club?
 9       Q Okay. Have you ever been contacted by a              9        A Yeah. I'm just saying, like I've seen my
10    strip club offering you employment?                       10    images out there.
11        A No. Not that I'm aware of.                          11        Q Have you seen your image being advertised
12        Q Since these images have been posted, have 12              in front of a strip club for any of these named
13    you been contacted by any strip clubs looking to          13    defendants in this lawsuit?
14    post your pictures to advertise for them?                 14        A No, because it was just that one time when
15        A No.                                                 15    I was in New York which I am not here often.
16        Q So as far as these images that were used            16        Q Which strip club is it that you saw
17    by the clubs, what did you do to try have those           17    advertising your picture?
18    images removed?                                           18        A I mean, that's all confidential. So I
19        A I contacted a lawyer.                               19    can't really say.
20        Q Let's go pack to the complaint which is             20        Q No, you could say. This is subject to a
21    marked as TT1.                                            21    confidentiality agreement.
22            The first photo of Exhibit 1 is in                22           MR. GOLASZEWSKI: If you know the name of
23    promotion of the Halloween party, correct?                23        the club that in which the billboard was in
24        A Yes.                                                24        front of, you can certainly testify to that.
25        Q At the strip club, as far as you know,              25        A I think it was the Diamond one. I'm not



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                                                    Page 133                                                      Page 135
 1                   T. TOTH                                    1                  T. TOTH
 2   familiar with like all strip clubs, because they           2      Q But you currently have multiple lawsuits
 3   have different affiliations.                               3   pending, correct?
 4       Q So you were saying before that you                   4      A Correct.
 5   contacted a lawyer.                                        5      Q Are the other establishments that you're
6           That wasn't regarding this lawsuit, it was          6   suing also strip clubs?
 7   regarding a different lawsuit against that club?           7      A Yes.
 8       A Correct.                                             8      Q All of them?
9        Q Without telling me the details of what               9      A Not all of them.
10    happened, is that matter still going on, or has it       10       Q What other establishments are being sued?
11    been resolved?                                           11       A Well, anyone I don't want to be affiliated
12        A It's been resolved.                                12   with. For example, swinger clubs or strip clubs.
13        Q How long ago did you resolved it?                  13       Q If you look at the second image on the
14        A I don't remember exactly.                          14    second page.
15        Q So going back to the first picture,                15          Do you find this advertisement to be
16    please, of Exhibit A of the complaint.                   16   offensive?
17           How did you first come to find out about          17          MR. GOLASZEWSKI: Objection.
18    this picture being used by the strip club?               18       A Not the picture itself. Well, kind of,
19        A I don't remember.                                  19    because it's saying that to leave anything to the
20        Q Did somebody bring this to your attention          20   imagination when the reality is even better.
21    or did you see this yourself?                            21   Meaning, that the reality of it is that I'm going to
22        A It could have been myself or it could have         22    be here at the strip club which is not true. False
23    been another model maybe saw it. I mean, if one of       23   advertisement.
24    us goes on there and sees one, we usually see girls      24       Q Okay. Thank you. We're going to stick on
25    we know, and we're not going to not tell each other.     25   Exhibit A. I'm going to go through -- these are
                                                  Page 134                                                      Page 136
 1                  T. TOTH                                    1                    T. TOTH
 2   But it's not hard. When you're on social media a           2   pretty specific allegations of the complaint. So
 3   lot, when it comes time for Halloween, there's a           3   I'm going to ask you certain things.
 4   million Halloween parties, and then someone steals        4            So looking in Exhibit A of the complaints
 5   your image. It's not that hard. They're out there.         5   with these pictures here -- you could go through
6    They're advertising, obviously, so it's reaching          6    them if you'd like.
 7   people, and I'm one of those people.                       7       A Okay.
8        Q So if you go on Google Images and you do a           8       Q What about these images do you believe is
9    search for you, you probably see a lot of pictures         9   misleading or false?
10    there that you didn't authorize of the use of,           10           MR. GOLASZEWSKI: Objection.
11    correct?                                                 11        A So what's false?
12           MR. GOLASZEWSKI: Objection.                       12        Q False or misleading about these images in
13        A There could be.                                    13    Exhibit A.
14        Q Have you ever done that, just done a               14        A It's giving people the idea that I'm going
15    Google Image search and look for the pictures that       15    to be at this event, and that I'm okay with being at
16    were published without your permission?                  16    a strip club -- I mean, being advertised that I
17        A When I was younger, yes.                           17    either work there or I'm going to be there.
18        Q But you don't do that anymore?                     18           What else does it say?
19        A I haven't done it in years.                        19           And that girls are guaranteed to cool you
20        Q So why do you choose to bring this                 20    off which is not true.
21    particular lawsuit?                                      21        Q Do you believe that using your image --
22        A Because I became aware of this one. I              22        A This --I'm sorry.
23    mean, I can only take one at a time. If I could do       23        Q No, I'm sorry. Continue.
24    them all, I would. But I will now, though, so thank      24        A This also says another hard week in front
25    you.                                                     25    of you. Come and get ready for it. Which I'm not


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1                   T. TOTH                                1                     T. TOTH
2    in front of whoever is going for this. Yeah, it's     2     you. So you have no way of knowing. So it's kind
 3   just offensive, because I'm not affiliated with any    3    of like going to an audition, you don't know why you
4    strip clubs.                                          4     didn't get the job. They're not going to call every
 5       Q Do you believe that using your image had         5    single person.
6    an effect on a person visiting the strip club?        6             So for example, had Playboy when was in my
 7       A Yes.                                             7    contract, and they saw this and thought I, you know,
 8       Q In what way?                                     8    shot for this or I'm appearing here, they won't book
 9       A Because if they's put a fat unattractive         9    me anymore. So I lose work, and they don't tell you
10    man on here, they would not show up.                 10     why. Playboy would, but most jobs, they're just
11        Q But do you think that using your image in      11     going to see you affiliated with this, and they're
12    particular, Tiffany Toth's image, had an effect on   12     not going to hire you
13    someone coming to the strip club?                    13         Q Do you believe that your personal
14           MR. GOLASZEWSKI: Objection.                   14     reputation has suffered because of this?
15        A Yes.                                           15            MR. GOLASZEWSKI: Objection.
16        Q Why?                                           16         A I mean, I -- personally, it's just
17        A Because I'm a Playmate, a model who models 17         offensive. I mean, people that know me, know me.
18    lingerie and costumes, and they figured in that that 18         Q And the people that know you, know that
19    brings male attention which is a lot of their        19     you didn't sign up for this, correct?
20    customers.                                           20         A Yeah, correct. But other people don't.
21        Q Wouldn't you agree that if you put the         21         Q Who is other people?
22    image of any attractive woman as the advertisement 2 2          A Society. People on social media. They
23    of the strip club, it would have the same effect as  23     figure if your face is on something, it was a job
24    having your image?                                   24     that you were paid for, that you agreed to that.
25           MR. GOLASZEWSKI: Objection.                   25         Q So as far as you know, were you ever

                                                   Page 138                                                   Page 140
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2        A No.                                              2    turned down from a photo shoot because of these
3        Q Why not?                                         3    postings?
4        A Because they would have used their own           4       A They won't tell you. They just don't hire
 5   girls that really work there, but they didn't.          5   you.
6    Because if they believe that their girls bought in     6        Q So as far as you know, that didn't happen?
7    attention, they would have used them for it.           7        A I mean, you don't know. That's just not
8        Q What I'm saying is that could they have           8   like how the industry works. They just don't tell
9    used the image     of any woman   who  in a bikini, to 9    you.
10    advertise for the strip, having the same effect as 10           Q Do you contend that you have suffered
11    having you advertise for the strip club?              11    future loss of earnings because of these posting?
12            MR. GOLASZEWSKI: Objection.                   12      A It could, yes.
13        A I mean, there's no way to really     say for    13      Q Do you know when these photos were posted?
14    sure.                                                 14      A These ones on their social media?
15        Q Your opinion.                                   15      Q Yes.
16        A But it's not a fact, so I don't know.           16      A I mean, it usually says on them.
17        Q Do you claim that you were injured as a         17      •    You can look through.
18    result of these posting?                              18      A I don't know. It looks like it was
19        A Injured how?                                    19   cropped out, so it doesn't say exactly.
20        Q Damaged, economically dangered?                 20      Q So you could look at the second page. It
21        A I mean, for us in our industry, if they         21   actually has on there, April 15, 2014.
22    just -- when you don't -- how do I say this?          22      A Yeah.
23            If someone sees something they're not         23      Q I believe that's the only one with the
24    happy with or thinks you're affiliated with, they're 24    date.
25    not going to hire you and they're not going to tell 25             So the only one we see here is April 2014,



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                                                  Page 141                                                     Page 143
1                  T. TOTH                                  1                        T. TOTH
 2   correct?                                               2       to third parties?
 3       A Correct.                                         3           A They do not.
4        Q And as of the date of filing this lawsuit        4           Q And it's because you say this is also this
 5   in January of 2016, are you aware of whether or not    5       the release for Mystery House?
 6   these pictures are still posted?                      6            A Yes, because I only signed for them to use
7        A I haven't checked recently.                     7        for their catalogs and their flyers.
 8       Q From January 2016 when this lawsuit was          8           Q Okay. And if you could look through the
 9   first filed, are you aware whether or not those        9       Exhibit A. I didn't see anywhere where it was
10    photos were still being used by these defendants?    10        indicated your name. Scroll through them.
11        A I don't remember.                              11               I didn't see anywhere where these
12        Q But you testified before that your income      12        defendants ever indicated this is Tiffany Toth; is
13                                    , correct?           13        that correct?
14             MR. GOLASZEWSKI: Objection.                 14               MR. GOLASZEWSKI: Objection.
15        A Yeah, because social media wasn't as big       15            A Correct. They don't need to.
16    as it is now.                                        16            Q And just looking at your complaint also,
17        Q When? 2014, it wasn't as big as it is          17        you claim that you've been dangered $75,000,
18    now?                                                 18        correct?
19        A Yeah. I don't even know if I was on            19               MR. GOLASZEWSKI: Objection.
20    Instagram. I mean, social media is kind of a bigger  20            A Correct. If that's what it says, yes.
21    thing than it was.                                   21            Q How did you come up with that number?
22        Q But as far as your personal income, from       22            A Well, I have an expert that helps me with
23    2014 to when these photos were first posted to 2015, 23        that, that knows how this works.
24                                            ?            24            Q Do you think that is a fair amount to be
25        A Probably because of social media too.          25        paid for these photos?
                                                    Page 142                                                  Page 144
1                    T. TOTH                                    1                T. TOTH
2        Q Because of social media, okay.                       2       A Yes.
 3          Do you have any feeling either way, or              3       Q Why do you think that's a fair amount?
 4   knowledge either way, whether or not these                4        A Because I would have never even done the
 5   defendants intended to use Tiffany Toth's pictures         5   job for any amount of money.
6    on their advertisement?                                   6        0 Now, do you know whether or not that these
 7          MR. GOLASZEWSKI: Objection.                        7    defendants knew that they didn't have permission to
8        A I have no way of knowing that.                       8   use your photographs?
9        Q Whether or not they knew you from before             9          MR. GOLASZEWSKI: Objection.
10    and chose your pictures to put on their website?         10       A I'm sorry, repeat that.
11           MR. GOLASZEWSKI: Objection.                       11       Q Do you have any knowledge either way
12        A They could have.                                   12    whether or not these defendants knew that they
13        Q Do you know -- and going back to what you          13    didn't have permission or a license to use these
14    said before -- is that these photos were taken on        14    photographs?
15    behalf of Roma and Mystery House, right.                 15       A I can't say that for sure. I mean, it's
16           Do you know whether or not Roma sold your         16    common knowledge. You don't just take photos.
17    photos to third parties?                                 17    Everybody has their rights. But I would assume they
18        A They do not.                                       18    knew better.
19        Q How do you know that?                              19           MR. SPIEGEL: Off the record.
20        A Because it's in their release. And they            20                 (Whereupon, an off-the-record
21    only use their images with, for example, a website       21                 discussion was held at this
22    that carries their product. That's all that the          22                 time.)
23    release allows.                                          23           MR. SPIEGEL: Rebecca Goldstein is just
24        Q Okay. And as far as Mystery House, are             24       going to ask a couple of questions.
25    you aware of whether or not they sell their images       25    EXAMINATION BY



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TIFFANY TOTH                                                                                            April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                 145-148
                                                  Page 145                                                    Page 147
1                  T. TOTH                                   1                   T. TOTH
 2   MS. GOLDSTEIN:                                           2       A I'd have to refer back to the paperwork.
 3      Q Have you ever heard of a company called             3       Q Okay. And how did you meet Peter Hamm?
4    Timed Out, LLC.                                          4       A I met him just like through the modeling
 5      A Yes.                                                5   agency -- not modeling agency, through the modeling
6       Q How are you affiliated with them?                  6    industry through my agent, NTA.
 7          MR. GOLASZEWSKI: Objection.                       7       Q NTA you said?
 8      A I know him personally.                             8        A Yeah.
 9      Q Who is him?                                        9        Q And they do your print work, are your
10       A Peter.                                            10    print agent?
11       Q Peter. What's his last name?                      11       A Yes.
12       A Peter Hamm.                                       12        Q So do you -- have you paid Timed Out or
13       Q And does Peter Hamm own Timed Out, LLC, to        13    Peter Hamm to help you in connection with these
14   the best of your knowledge?                             14    lawsuits?
15       A Correct.                                          15       A No, I haven't paid him.
16       Q What does Timed Out do?                           16        Q So does he pay you?
17       A Works as an agent, manager.                       17       A No.
18       Q And is Timed Out your agent?                      18       Q Do you have any type of written agreement
19       A At times, yes.                                    19    or any -- do you have any written agreement with him
20       Q What type of agent?                               20    or with Timed Out?
21       A Helps me with my like, I guess, you could         21       A I mean, I always have written agreements
22   say likeness of images. For example, like this kind     22    with my people, yes.
23   of situation.                                           23       Q And if you know, what's the subject of
24       Q So Peter Hamm is your agent or Timed Out          24    your agreement with Peter Hamm or Timed Out?
25   would be your agent for these purposes?                 25       A I'd have to refer back to it.

                                                    Page 146                                                        Page 148
 1                  T. TOTH                                   1                   T. TOTH
 2       A Well, his company is Timed Out.                    2      Q Have you ever owned any part of Timed Out?
 3       Q So to the best of your knowledge, is he            3      A No.
 4   the president of Timed Out?                              4      Q Or have any equity stake in it?
 5       A Yes.                                               5      A No.
6        Q Do you know if he's the only owner of the          6      Q And you said you weren't sure if they have
 7   company?                                                 7   any affiliation with this lawsuit, if they've helped
 8       A I'm not sure.                                      8   you with this at all?
9        Q So you said Timed Out and Peter Hamm help 9               A I'd have to look back. I'd have to took
10    you with situations like this.                         10    back at e-mails.
11           You mean this lawsuit?                          11       Q E-mails with Peter Hamm or Timed Out?
12        A Yes. I mean, if I contact him, yes, for          12       A Well, no. Just in general.
13    like advise or -- yeah.                                13          MS. GOLDSTEIN: Okay. I think that's all
14        Q And did you contact him in connection with       14       of that.
15    this lawsuit?                                          15       Q So have you understood all of the
16        A I don't know if it was this one or not.          16   questions that you were asked today?
17        Q But you've contacted him in connection           17       A To the best my knowledge, yes.
18    with other lawsuits that you've filed?                 18       Q Have you answered all of the questions
19        A Yes.                                             19   truthfully, to the best of your ability?
20        Q And was one of those Timed Out versus LA 20               A Yes.
21    Girl Jewelry?                                          21       Q And is there anything else that you feel
22           Does that  ring a bell?                         22   that's important to state today?
23        A Probably, yes.                                   23       A I don't think so. Just that I didn't give
24        Q Do you remember what your claims were in         24   permission or work for the company. So that's about
25    that case?                                             25   it.



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TIFFANY TOTH                                                                                                April 13, 2017
TOTH vs 59 MURRAY ENTERPRISES                                                                                     149-152
                                              Page 149                                                                       Page 151
 1                 T. TOTH                                      a
2          MS. GOLDSTEIN: Okay.                                 2   TT!2      photograph                                           50

 3         MR. SPIEGEL: John, do you have any                   3   TT13      photograph                                           54
4      follow-up questions?                                     4   TT14      photograph                                           57
 5         MR. GOLASZEWSKI: Nothing for plaintiffs.             5   T115      photograph                                           58
6          MR. SPIEGEL: Okay. We're done. Thank                 6   TT16      photograph                                           60
7      you.                                                     7   1717      sample release form                                  88
 8               (Whereupon, at 3:17 p.m., the                  8   TT1O      contract with Blackheart Rum                        100
9                examination of this witness was
                                                                9   TT19      2011 financial information                          104
10                concluded.)
                                                               10   TT20      2012 financial information                          104
11
                                                               11   1721      2013 financial information                          105
12
                                                               12   1122      2014 financial information                          106
       TIFFANY TOTH
13                                                             13   TT23      2015 financial information                          106

14                                                             14

15                                                             15            (Exhibits retained by Reporter.)

16 Subscribed and sworn to before me                           16
17 this      day of                           20     .         17
18                                                             18
19                                                             19
     NOTARY PUBLIC                                             20
20                                                             21
21
                                                               22
22
                                                               23
23
                                                               24
24
                                                               25
25
                                                Page 150                                                                     Page 152
 1                                                              1
 2                           INDEX                              2                 CERTIFICATE
 3   EXAMINATION BY                                  PAGE       3   STATE OF NEW YORK               i
 4   MR. SPIEGEL                                          4     4                                   :ss. :
 5   MS. GOLDSTEIN                                       144        COUNTY OF KINGS                 )
6                                                               5
 7              INFORMATION AND/OR DOCUMENTS REQUESTED          6
 8   INFORMATION AND/OR DOCUMENTS                    PAGE       7             I, AVERY N. ARMSTRONG, a Notary Public for
 9   contracts for the past 10 years with                 93    8   and within the State of New York, do hereby certify:
     Mystery House or Roma.                                                  That the witness whose examination is
                                                               9
10
                                                               10   hereinbefore set forth was duly sworn and that such
     2016 tax returns                                    103
                                                               11   examination is a true record of the testimony given
11
                                                               12   by that witness.
     witness's model release                             111
                                                               13             1 further certify that I am not related to
12
                                                               14   any of the parties to this action by blood or by
13                       EXH IBITS
                                                               15   marriage and that I am in no way interested in the
14   EXHIBITS                        FOR ID          PAGE
                                                               16   outcome of this matter.
15   TT1         second amended complaint                 7
                                                               17             IN WITNESS WHEREOF, I have hereunto set my
16   TT2           photograph                             26
                                                               18   hand this 13th day of April 2017.
17   TT3        photograph                               27
18   TT4        photograph                                30   19                                       grAf.   i
                                                                                                                    W
19   TT5        photograph                                30   20                                                   •I'cli
20   TT6        photograph                                33
21   TT7        photograph                                34   21                                   AVERY N. ARMSTRONG

22   TT8        photograph                                38   22

23   TT9        photograph                                43   23
24   TT10       photograph                                43   24
25   Till       photograph                                46   25




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